Case 2:16-cv-08697-FMO-PVC   Document 171-14    Filed 11/17/17   Page 1 of 3 Page
                                  ID #:2462




                             EXHIBIT 14




                                     360
                                   EXHIBIT 14
     Case 2:16-cv-08697-FMO-PVC       Document 171-14     Filed 11/17/17   Page 2 of 3 Page
                                           ID #:2463



 1                   Outlier Providers Included in the RACCR Program and
 2                         Located in the Central District of California
 3
 4          A large percentage of the outlier providers reviewed in United’s Risk Adjustment
 5    Coding and Compliance Reviews (“RACCR”) program are located and are serving
 6    Medicare beneficiaries in the Central District of California, including:
 7
 8          Access Medical Group Inc.
 9          Alliance Physicians Medical Group
10          Applecare Medical Group
11          Axminster Medical Group
12          Beaver Medical Group
13          Beaver/Redlands-Yucaipa Medical Group
14          Bristol Park MG
15          Choice Medical Group
16          Choice Physicians Network
17          Desert Oasis Healthcare
18          Edinger Medical Group
19          Facey Medical Foundation
20          Family Practice Medical Group
21          Greater Newport Physicians
22          HCP/MAGAN/PA/Talbert
23          Hemet Community Medical Group
24          Heritage Physicians Network/High Desert
25          Heritage Victor Valley MG
26          High Desert Medical Group
27          High Desert Primary Care MG
28          Lakeside Medical Group
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                                               361
                                             EXHIBIT 14
     Case 2:16-cv-08697-FMO-PVC     Document 171-14     Filed 11/17/17   Page 3 of 3 Page
                                         ID #:2464



 1          Menifee Valley Community Medical Group
 2          Monarch Healthcare
 3          Pacific IPA
 4          Physicians Associates
 5          Primecare
 6          Prospect/Gateway/Genesis/ProMed
 7          Redlands – Yuca IPA MG
 8          Regal Medical Group
 9          Riverside Medical Center
10          San Bernardino Medical Group
11          Santa Barbara Select IPA
12          St. Vincent Medical Group IPA
13          Talbert MG
14          UCLA Medical Group/IPA
15          United Family Care
16          Valley Care IPA
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                                             362
                                           EXHIBIT 14
